Scott Lieske
Chapter 13 Trustee

United States Bankruptcy Court

Eastern District Of Wisconsin
P. O. Box 510920

Milwaukee, WI 53203
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April 12, 2022
Clerk of the US Bankruptcy Court
126 U S Courthouse
517 E. Wisconsin Avenue pS mo
. nm? ss
Milwaukee, WI 53202 0 8
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RE: MICHAEL TYRONNE STABLER Ss 5 >» =
Case No. 21-22199-RMB 25 w@ YG
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Dear Clerk of the US Bankruptcy Court:
Enclosed please find check # 1652376 in the amount of $13.00. This check replaces the

following check, for the same dollar amount, in the above case:

Original Check No.: 1647216

Original Payee: Michael Tyronne Stabler
7736 West Heather Avenue
Milwaukee, WI 53223

Please deposit these funds as unclaimed funds, as they were returned by the United States

Postal Service or were uncashed by the original payee.

Thank you,
Scott Lieshe

Scott Lieske
Chapter 13 Standing Trustee

SL

ce: file

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Case 21-22199-rmb

 
